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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA

 In re:    Daylee Garcia                                            Case No.: 23-16998-LMI
                                                                    Chapter 13
                        Debtor(s)                  /

                        OBJECTION TO CLAIM ON SHORTENED NOTICE

              IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                                TO YOUR CLAIM

        This objection seeks either to disallow or reduce the amount or change the priority status
of the claim filed by you or on your behalf. Please read this objection carefully to identify which
claim is objected to and what disposition of your claim is recommended. Upon the filing of this
objection an expedited hearing on this objection will be scheduled on the date already scheduled
for the confirmation hearing in accordance with Local Rule 3007-1(B)(2).

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the [trustee][debtor]
objects to the following claim filed in this case:

 Claim No.                          Name of Claimant / Creditor                  Amount of Claim
 17                                 Jefferson Capital Systems LLC                $172.21

Basis for Objection and Recommended Disposition

On or about October 10, 2023, Creditor filed an unsecured general proof of claim for a Retail
account ending in 2185. The backup documentation attached indicates this debt was from 2000
and was charged off in 2001. The Debtor asserts the Statute of Limitations as a defense; therefore,
this claim should be stricken and disallowed.

The undersigned acknowledges that this objection and the notice of hearing for this objection will
be served on the claimant and the debtor at least 14 days prior to the confirmation hearing date and
that a certificate of service conforming to Local Rule 2002-1(F) must be filed with the court when
the objection and notice of hearing are served.

 Respectfully submitted:                      Jose A. Blanco, P.A.
 November 18, 2023                            By: /s/ Jose A. Blanco | FBN: 062449
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